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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3037
                                     )
           v.                        )
                                     )
FRANK N. JUVIEL,                     )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     1. The motion of Joel G. Lonowski to withdraw as counsel
for defendant, filing 17, is granted.

     2. Plaintiff’s motion to continue trial, filing 16, is
granted and trial of this matter is continued to 10:00 a.m.,
July 7, 2008, for a duration of five days before the Honorable
Warren K. Urbom in Courtroom 4, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.


     DATED this 22nd day of May, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
